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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT


   BLUE BUFFALO COMPANY LTD.,

                     Plaintiff,                  Case No. 14 Civ. 1665 (JCH)

   v.

   NESTLÉ PURINA PETCARE COMPANY,                February 6, 2015

                     Defendant.




         PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
    DEFENDANT’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT




   ORAL ARGUMENT REQUESTED
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                  Plaintiff Blue Buffalo Company Ltd. (“Blue Buffalo”) respectfully

   submits this memorandum of law in opposition to the motion brought by Defendant

   Nestlé Purina PetCare Company (“Nestlé Purina”) to dismiss the First Amended

   Complaint (the “Complaint”).

                               PRELIMINARY STATEMENT

                  Pet food manufacturer Blue Buffalo alleges that Nestlé Purina falsely

   advertises that its dog and cat foods have qualities that they do not have. The Complaint

   alleges, with great factual detail and specificity, that in television commercials, print

   advertising, websites and packaging, Nestlé Purina falsely claims: (1) that high-quality

   ingredients like salmon, “real seafood,” “real beef,” bacon and rice are the main

   ingredients of Nestlé Purina’s most popular products, when in fact those ingredients are

   non-existent or only a tiny portion; (2) that certain Nestlé Purina pet foods are made with

   human-quality ingredients like filet mignon, when in fact they are not; (3) that Nestlé

   Purina’s Just Right dog food is a “personalized” and “unique blend” tailored to each

   dog’s individual needs, when it is not; and (4) that certain Nestlé Purina products are

   healthy for pets, when in fact Nestlé Purina knew they caused sickness and death.

                  Accepting these allegations as true, which the Court must on this motion,

   Blue Buffalo has more than sufficiently alleged that Nestlé Purina’s advertisements are

   false and misleading in violation of the Lanham Act, the Connecticut Unfair Trade

   Practices Act (“CUTPA”) and the Connecticut Unfair Sales Practices Act (“CUSPA”),

   and constitute unfair competition under Connecticut common law.

                  Nestlé Purina does not argue that Blue Buffalo has failed to allege the

   requisite elements of any of these claims, or failed to allege these claims with factual

   particularity. Instead, Nestlé Purina moves to dismiss the Complaint based on what are,
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   at best, its factual defenses. And it asks the Court to make factual determinations at the

   pleading stage. There is no precedent under Rule 12(b)(6) for any of the asserted grounds

   for dismissal.

                    First, Nestlé Purina argues, as if the parties were already at trial, that “no

   reasonable consumer” would be deceived by the challenged advertisements.                  That

   conclusory assertion is a question of fact, not a basis for a motion to dismiss a Lanham

   Act claim. The Second Circuit has so held, as have numerous district courts in this

   Circuit. Nestlé Purina’s argument is not supported by a single Lanham Act decision.

                    Second, Nestlé Purina asserts that its ingredient labels supposedly comply

   with industry “labeling conventions,” and therefore all of its television commercials,

   websites and packages are immune from Lanham Act liability. That is not the law. Quite

   the opposite: the Supreme Court, in a decision Nestlé Purina does not even mention,

   directly rejected that argument. See POM Wonderful LLC v. Coca-Cola Co., 134 S. Ct.

   2228 (2014).

                    Third, in a rehashing of its first two arguments, Nestlé Purina contends

   that any “ambiguity” caused by its advertising is “clarified” by the ingredient lists on its

   packages. At best, this is another factual defense that is not appropriate for a pleading

   motion. The courts in this Circuit have held that an ingredient list on the back of a

   product does not shield a manufacturer from liability for false statements made elsewhere

   on the product, much less in television or print advertising. Again, Nestlé Purina cites no

   Lanham Act case law to support its motion.

                    Fourth, Nestlé Purina retreats to the familiar refuge of false advertisers:

   the product misrepresentations in its advertising are “mere puffery” and no one believes




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   them. A television commercial that describes a product as “bacon” 10 times in 30

   seconds is, if you believe Nestlé Purina, meaningless “hyperbole.” When a multi-billion

   dollar competitor wages a multi-million dollar advertising campaign, deliberately and

   falsely depicting a food product as made of a very specific ingredient, it is not engaged in

   innocuous exaggeration. A motion to dismiss, respectfully, is not the occasion to debate

   such a fact-based defense, which turns on the evidence to be adduced at trial, not the

   notice in the pleading. If Nestlé Purina persists in that defense, it can present it to the

   jury. The Complaint, however, satisfies the pleading requirements of Fed. R. Civ. P. 8.

                  Finally, Nestlé Purina’s argues that the scope and application of CUSPA is

   “unclear,” and that there is no common law unfair competition cause of action in

   Connecticut. But the scope and application of CUSPA as applied to these specific

   allegations is quite clear, and the common law tort of unfair competition is plainly

   recognized under Connecticut law.

                  Nestlé Purina’s motion to dismiss should be denied.

                                      THE COMPLAINT

                  The Complaint alleges that Nestlé Purina has disseminated false and

   misleading advertisements for ten pet food brands on television, in print, on its website,

   and on its packaging. Those false and misleading representations, about the qualities and

   characteristics of Nestlé Purina’s products, include the following.

          1.      Beggin’ Strips

                  Nestlé Purina advertises in television commercials, on the web and on the

   packaging that its Beggin’ Strips brand dog snacks are bacon and that the main ingredient

   is bacon. That is false. The complaint alleges—and Nestlé Purina has not disputed—that

   Beggin’ Strips are made primarily of wheat, corn gluten meal, wheat flour, ground


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   yellow corn, water, sugar, glycerin, soybean meal and hydrogenated starch hydrolysate.

   The amount of bacon is less than any one of these non-bacon ingredients, and is only a

   tiny fraction of this processed product. (Compl. ¶¶ 20-25.)

          2.      Cat Chow Naturals

                  Nestlé Purina advertises on television and on the packaging that salmon is

   one of the main ingredients in its Cat Chow Naturals.          That is false.     The main

   ingredients of this cat food are chicken meal, corn gluten meal, soybean meal, brewers

   rice, animal fat preserved with mixed-tocopherols, and corn meal. The amount of salmon

   is less than any one of these other ingredients, and is only a tiny fraction of this non-

   salmon product. (Id. ¶¶ 26-28.)

          3.      Fancy Feast Filet Mignon Flavor with Real Seafood & Shrimp

                  Nestlé Purina advertises on the packaging and website for its Fancy Feast

   Filet Mignon Flavor with Real Seafood & Shrimp brand of cat food that this product is

   made with “Filet Mignon.” That is false. The product contains no beef whatsoever and

   contains no meat that truthfully could be described as “filet mignon.” Nestlé Purina also

   advertises that “Real Seafood & Shrimp” are main ingredients in this product. That is

   false. The amount of fish and shrimp is a small portion of this processed product, and

   less than such non-seafood components as “poultry by-product meal,” which consists of

   the carcass of slaughtered poultry, including necks, feet, undeveloped eggs and intestines.

   Yet, Nestlé Purina advertises this product as a “Gourmet” food. (Id. ¶¶ 29-31.)

          4.      Beneful

                  Nestlé Purina advertises on television and the packaging that its Beneful

   line of dog foods consists primarily of “Real Beef” and “Real Chicken.” That is false.

   The amount of beef and chicken is only a tiny fraction of these products. (Id. ¶¶ 32-34.)


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          5.      ONE SMARTBLEND and Pro Plan

                  Nestlé Purina advertises on the packaging for its ONE SMARTBLEND

   brand of dog food and its Pro Plan brand of dog and cat food that all of those products

   contain “RICE.”      That is false.    Rather than containing actual rice, a healthy and

   nutritious grain, these products contain no rice whatsoever and, instead, are made with a

   cheap filler with little or no nutritional value that is called “brewers rice.” (Id. ¶¶ 35-39.)

          6.      Chef Michael’s

                  Nestlé Purina’s advertising for its Chef Michael’s brand of dog food

   claims that the so-called “Tender Pieces” contained in the product are whole pieces of

   “Real Chicken” and “Real Beef,” as pictured in the advertising and on the packaging.

   That is false. The “Tender Pieces” contain soy products and other cheaper ingredients,

   and any meat components of the “Tender Pieces” are not the whole pieces of premium

   meat cuts pictured in the advertisements. (Id. ¶¶ 40-42.)

          7.      Just Right

                  Nestlé Purina advertises on its website that its Just Right dog food is

   custom-blended by Nestlé Purina to meet the individualized breed, age, size and eating

   preferences of customers’ dogs, and thus provides “Food as unique as your dog,”

   “Personalized nutrition for your dog,” “Unique Blends,” “Tailored Nutrition” and “a

   personalized blend to match your dog’s nutritional needs.” All of that is false. There is

   nothing “unique” or “personalized” about this mass-produced product.               Just Right

   consists of the same limited set of basic ingredients for every customer. (Id. ¶¶ 43-48.)

          8.      Waggin’ Train and Canyon Creek Ranch

                  Nestlé Purina intentionally misled consumers with false and deceptive

   representations that its defective chicken and duck jerky dog treats—marketed under the


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   Waggin’ Train and Canyon Creek Ranch brand names—were wholesome and suitable

   for consumption by dogs when, in fact, those products were known by Nestlé Purina to

   cause sickness and death in dogs. (Id. ¶ 49.)

                                          ARGUMENT

                  Based on these highly specific and detailed factual allegations of false and

   misleading advertising by Nestlé Purina, the Complaint more than adequately states

   claims under the Lanham Act, CUTPA, CUSPA, and Connecticut unfair competition law.

                  Nestlé Purina’s motion does not identify a single pleading deficiency in

   the Complaint. Instead, it previews Nestlé Purina’s defenses on the merits—e.g., that

   “reasonable consumers” are not deceived by the false ads; that the labels on the packages

   comply with industry standards; that the ingredient lists clarify any customer confusion;

   and that the television commercials and other advertisements are really just “puffery” that

   no one believes. These defenses are (and will be) hotly contested issues of fact and,

   therefore, are not grounds for a motion to dismiss under Rule 12(b)(6). See, e.g., Time

   Warner Cable, Inc. v. DirecTV, Inc., 497 F.3d 144, 158 (2d Cir. 2007); Am. Home Prods.

   Corp. v. Johnson & Johnson, 577 F.2d 160, 165-66 (2d Cir. 1978).

                  As the Court well knows, Nestlé Purina bears a heavy burden on its

   motion.    A motion to dismiss may be granted only if, accepting all well-pleaded

   allegations in the complaint as true and viewing them in the light most favorable to the

   plaintiff, a court finds that plaintiff’s claims lack “facial plausibility.” Ashcroft v. Iqbal,

   556 U.S. 662, 678 (2009). “A claim has facial plausibility when the plaintiff pleads

   factual content that allows the court to draw the reasonable inference that the Defendant

   is liable for the misconduct alleged.” Id.




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                  Taken as true, the “factual content” of this Complaint—including the

   specific advertisements at issue, the specific advertising claims in dispute, and the

   specific factual reasons why those claims are false, misleading and deceptive—easily

   meets and exceeds the pleading standard in Fed. R. Civ. P. 8. Nestlé Purina’s motion

   should be denied.

   A.     THE COMPLAINT STATES A CLAIM UNDER THE LANHAM ACT

                  To state a claim under the Lanham Act for false advertising, a plaintiff

   must allege that (1) the defendant made a false or misleading representation regarding the

   nature, characteristics or qualities of the defendant’s or another’s products, (2) in

   commerce, (3) in the context of advertising or promotion, and (4) caused damage to

   plaintiff. See FTA Mkt. Inc. v. Vevi, Inc., No. 11 Civ. 4789, 2012 WL 383945, at *4

   (S.D.N.Y. Feb. 1, 2012); Gmurzynska v. Hutton, 257 F. Supp. 2d 621, 629 (S.D.N.Y.

   2003), aff’d, 355 F.3d 206 (2d Cir. 2004). Product representations, like those made by

   Nestlé Purina about its pet foods, violate the Lanham Act if they are either “literally

   false” or “implicitly false.” Time Warner Cable, 497 F.3d at 153, 158 (an advertisement

   is literally false “[i]f the words or images, considered in context, necessarily imply a false

   message,” whereas an advertisement is implicitly false if “plaintiff can show that the

   advertisement, while not literally false, is nevertheless likely to mislead or confuse

   consumers”).

                  The Complaint here alleges each of these elements, and does so in

   abundant detail and particularity. Since the issue of falsity is a factual one, Lanham Act

   pleadings like this are virtually never dismissed where the defendant, like Nestlé Purina,

   contends that the advertising is not false or misleading. See, e.g., LivePerson, Inc. v. 24/7

   Customer, Inc., --- F. Supp. 3d ---, 2015 WL 249329, at *14-15 (S.D.N.Y. 2015)


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   (denying motion to dismiss Lanham Act false advertising claim because claim raised

   questions of fact “poorly suited to a determination at the pleadings stage”); see also VIP

   Prods., LLC v. Kong Co. LLC, No. 10 Civ. 998, 2011 WL 98992, at *3 (D. Ariz. Jan. 12,

   2011) (“There is no dispute that the speech or packaging at issue is commercial in nature,

   nor that Plaintiff and Defendant are competitors. The issues that remain . . . are fact-

   intensive inquiries not suitable for resolution in a motion to dismiss.”).

                  Thus, Nestlé Purina’s arguments, even if they had factual merit, and they

   do not, are not arguments for dismissal at the pleading stage.1

          1.      Whether “Reasonable Consumers” Are Deceived by Nestlé Purina’s
                  False Advertising Is a Question of Fact, Not Grounds for Dismissal

                  Without citing a single Lanham Act precedent—because there is none—

   Nestlé Purina argues that the Lanham Act claims here should be dismissed because no

   “reasonable consumer” could be misled by any of its allegedly false television, print,

   website or packaging ads. (Def. Mem. at 8-10.) Apart from disregarding the actual

   pleading standard discussed above, this argument is a non-starter for the reasons

   demonstrated herein.

                  As an initial matter, Nestlé Purina relies entirely on cases involving state

   consumer protection statutes, primarily in California, not the Lanham Act.          Those

   California statutes involve different pleading and proof requirements than the Lanham

   Act.2 It is therefore no surprise that the so-called “reasonable consumer standard” Nestlé


   1
       Because, as Nestlé Purina acknowledges (Def. Mem. at 8 n.6), the false advertising
       claims at issue here are based on the same underlying factual allegations and involve
       the same basic legal standards, the Lanham Act analysis herein applies equally to
       Blue Buffalo’s claims under CUTPA, CUSPA and Connecticut common law.
   2
       Compare, e.g., Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008)
       (“[C]laims under these California [unfair competition and false advertising] statutes

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   Purina asks the Court to apply on this pleading motion is not based on any Lanham Act

   case law.

                  To the extent consumer perceptions are relevant at all to a Lanham Act

   claim, they are issues of fact for the trial on the merits and, therefore, cannot be resolved

   on a pleading motion. Indeed, if the advertising is literally false, then evidence of

   consumer perceptions is irrelevant because consumer deception is presumed. See, e.g.,

   Time Warner Cable, 497 F.3d at 153 (“When an advertisement is shown to be literally or

   facially false, consumer deception is presumed.”); see also Genzyme Corp. v. Shire

   Human Genetic Therapies, Inc., 906 F. Supp. 2d 9, 17-18 (D. Mass. 2012) (“At the

   pleading stage [plaintiff] is entitled to the benefit of a presumption of consumer deception

   because it has alleged the dissemination of literally false statements.”). Similarly, “where

   a plaintiff adequately demonstrates that a defendant has intentionally set out to deceive

   the public, and the defendant’s conduct in this regard is of an egregious nature, a

   presumption arises that consumers are, in fact, being deceived.” Johnson & Johnson v.

   Smithkline Beecham Corp., 960 F.2d 294, 298 (2d Cir. 1992) (internal quotes omitted).

   Evidence of actual consumer perceptions of the advertising—e.g., surveys of consumer


      are governed by the ‘reasonable consumer’ test.”) with FTA Mkt., 2012 WL 383945,
      at *4 (“To state a claim under this section, plaintiff must allege (1) defendants made a
      false or misleading representation . . . ; (2) the representations were used in
      commerce; (3) the representations were made in the context of commercial
      advertising or promotion; and (4) defendants’ actions made plaintiff believe it would
      be damaged by the representations.”) (internal quotes omitted). See also Ingrid &
      Isabel, LLC v. Baby Be Mine, LLC, , --- F. Supp. 3d ---, 2014 WL 5507669, at *9
      (N.D. Cal. 2014) (“Under the Lanham Act, Defendants are prohibited from making a
      false or misleading representation of fact which is likely to cause confusion, or to
      cause mistake, or to deceive. Under California's [Unfair Competition Law], the test is
      whether Defendants engaged in any unfair, deceptive, untrue or misleading
      advertising that was likely to deceive the reasonable consumer to whom the practice
      was directed.”) (emphasis added, internal quotes omitted).


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   reactions to a television commercial—is generally relevant only to prove that an

   advertisement is implicitly false, and then only if defendant’s misconduct is not

   intentional and egregious. See, e.g., Nasdaq Stock Mkt., Inc. v. Archipelago Holdings,

   LLC, 336 F. Supp. 2d 294, 305 (S.D.N.Y. 2004) (“If an implied falsehood is at issue, it is

   the perception of the relevant public, not the court, that determines whether an

   advertisement is misleading.”).

                  In either case—literal falsity or implicit falsity—the question of whether

   the challenged advertising is false and misleading is an issue of fact. Gordon & Breach

   Science Publishers v. Am. Inst. of Physics, 859 F. Supp. 1521, 1532 (S.D.N.Y. 1994)

   (“The falsity of advertising is an issue of fact.”); Process Controls Int’l, Inc. v. Emerson

   Process Mgmt., 753 F. Supp. 2d 912, 929 (E.D. Mo. 2010) (denying 12(b)(6) motion to

   dismiss Lanham Act false advertising claims and holding that “whether [a] claim is

   literally false is typically an issue of fact” and “[s]imilarly, whether a statement is

   misleading is generally a question of fact”).

                  Courts in the Second Circuit hold that the factual question of whether an

   advertisement is false or misleading is not appropriate for resolution on a motion to

   dismiss.3 As the Second Circuit explained, even in a case where consumer reactions are


   3
       See, e.g., Time Warner Cable, 497 F.3d at 158 (holding that it is inappropriate to
       resolve on a motion to dismiss whether an advertisement is false or misleading
       because the court must look at external evidence “to determine what ‘the person to
       whom the advertisement is addressed find[s] to be the message’” (quoting Am. Home
       Prods., 577 F.2d at 166)); Johnson & Johnson, 960 F.2d at 297 (“It is not for the
       judge to determine, based solely upon his or her own intuitive reaction, whether the
       advertisement is deceptive.”); Am. Home Prods., 577 F.2d at 165 (it is “well
       established that the truth or falsity of the advertisement usually should be tested by
       the reactions of the public”); Koenig v. Boulder Brands, Inc., 995 F. Supp. 2d 274,
       288 (S.D.N.Y. 2014) (denying motion to dismiss where product label included
       contradictory and/or confusing information about the contents, “[b]ecause it is

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   relevant, “the court’s reaction [to an advertisement] is at best not determinative and at

   worst irrelevant.” Time Warner Cable, 497 F.3d at 158 (internal quotes omitted). Thus,

   a plaintiff must be permitted to “demonstrate, by extrinsic evidence, that the challenged

   commercials tend to mislead or confuse consumers.” Johnson & Johnson, 960 F.2d at

   297.

                 Accordingly, Nestlé Purina’s “reasonable consumer” arguments either are

   irrelevant or must be reserved for another day. For example, Nestlé Purina suggests that

   “reasonable consumers” will intuitively know that the “Tender Pieces” in its Chef

   Michael’s dog food are not the whole pieces chicken or beef pictured in the advertising

   because the packaging says that chicken or beef “is the primary, but not the only

   ingredient in the product.” (Def. Mem. at 22 (emphasis in original).) As the images on

   the packaging make clear, however, the product consists not just of “Tender Pieces” but

   also of “Crunchy Kibbles.”     (Compl. ¶ 40.)    Thus, based on the juxtaposition and

   equation of images of chunks of “Real Chicken” and “Real Beef” with the so-called

   “Tender Pieces,” it would be reasonable for consumers to believe that the “Tender



      unclear to the Court whether, as a matter of law, a reasonable consumer might be
      confused or misled”); In re Frito-Lay N.A. Inc. All Natural Litig., No. 12 MDL 2413,
      2013 WL 4647512, at *15 (E.D.N.Y. Aug. 29, 2013) (determination of whether
      consumers would be misled by the word “natural” on the product label generally
      cannot be determined on a motion to dismiss); Ackerman v. Coca-Cola Co., No. 09
      Civ. 395, 2010 WL 2925955, at *17 (E.D.N.Y. July 21, 2010) (whether an
      advertisement is deceptive “‘is generally a question of fact which requires
      consideration and weighing of evidence from both sides and therefore usually cannot
      be resolved through a motion to dismiss’”) (quoting Williams, 552 F.3d at 939); see
      also Clorox Co. Puerto Rico v. Proctor & Gamble Co., 228 F.3d 24, 37 (1st Cir.
      2000) (“The court was required to credit Clorox’s allegations. It could not conduct its
      own evaluation of the advertising copy because whether advertising is misleading
      depends on ‘what message was actually conveyed to the viewing audience.’” (quoting
      Johnson & Johnson, 960 F.2d at 298)).


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   Pieces” are whole pieces of the chicken or beef pictured, and that the other ingredients in

   the product constitute the “Crunchy Kibbles.”

                  In sum, defendant’s yet to be proven, and potentially irrelevant, belief that

   consumers have not been misled provides no basis for this Court to dismiss any of the

   well pled Lanham Act allegations in the Complaint.4

          2.      Compliance With Labeling Conventions Is Not
                  Grounds for Dismissing a Lanham Act Claim

                  Nestlé Purina tries to recharacterize all the allegations of false and

   misleading television commercials, print advertisements, websites and packaging as

   “mislabeling,” and then argues that its labels cannot be actionable under the Lanham Act

   because they comply with FDA and AAFCO industry “labeling conventions.” (Def.

   Mem. at 13-14.) In other words, Nestlé Purina asserts that it has immunity from Lanham

   Act liability for misrepresenting that Beggin Strips are bacon, or that salmon is one of the




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       Equally meritless is Nestlé Purina’s argument that certain claims should be dismissed
       simply because it disputes the facts alleged. For example, the Complaint alleges that
       Nestlé Purina intentionally misled consumers by means of false and deceptive
       representations that its defective Waggin’ Train and Canyon Creek Ranch jerky dog
       treats were wholesome and suitable for consumption by dogs at times when, in fact,
       those products were known by Nestlé Purina to cause sickness and death in dogs.
       (Compl. ¶ 49.) Nestlé Purina argues that these detailed allegations do not state a
       claim because, at the time it made the representations in its advertising, there were
       merely “(unproven) allegations regarding the safety of” its Waggin’ Train and
       Canyon Creek Ranch dog treats. (Def. Mem. at 24.) That statement, however,
       directly contradicts the well-pleaded allegations in the Complaint, which clearly
       claim that Nestlé Purina knew as a matter of fact that those products were causing
       sickness and death in dogs, and yet nonetheless it continued to promote and advertise
       those products as wholesome and suitable for consumption. (Compl. ¶ 49.) Nestlé
       Purina cannot dismiss a claim as a matter of law simply by saying—without any
       factual support whatsoever—that it disagrees with the allegations in the Complaint.
       If that were the standard, then no false advertising complaint would ever survive a
       motion to dismiss.


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   main ingredients in Cat Chow Natural, because regulatory and industry standards permit

   Nestlé Purina to use miniscule amounts of bacon and salmon.

                     Nestlé Purina cites no authority in support of this proposition. More

   tellingly, it does not cite POM Wonderful LLC v. Coca-Cola Co, the recent case in which

   the Supreme Court rejected this very same argument. Satisfying labeling requirements,

   the Court held, does not preclude the “comprehensive imposition of liability” under the

   Lanham Act for product misrepresentations, “including food and beverage labels.” 134

   S. Ct. at 2238.

                     POM Wonderful LLC (“POM”) makes and distributes various

   pomegranate juice products. It filed a Lanham Act false advertising claim against Coca-

   Cola Company (“Coke”), which makes a juice blend labeled as “pomegranate blueberry,”

   even though pomegranate juice and blueberry juice are only a tiny portion of the product.

   The district court granted partial summary judgment for Coke, and the Ninth Circuit

   affirmed, based on Coke’s argument that its compliance with FDA labeling requirements

   precluded the Lanham Act claim. The Supreme Court reversed, holding that compliance

   with FDA labeling requirements does not preclude claims for false advertising under the

   Lanham Act. See id. “The position Coca-Cola takes in this Court that because food and

   beverage labeling is involved it has no Lanham Act liability here for practices that

   allegedly mislead and trick consumers, all to the injury of competitors, finds no support

   in precedent or the statutes.” Id. at 2241.

                     By arguing that “[a] label that fully complies with the uniform, adopted

   and nationally accepted labeling conventions cannot plausibly be false and misleading to

   a reasonable consumer” (Def. Mem. at 13-14), Nestlé Purina asks the Court to disregard




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   both the pleading—which alleges false television commercial and websites, not just

   labels—and the governing law. Other attempts to confine or distinguish POM Wonderful

   in order to immunize advertisers from the Lanham Act have been rejected. See JHP

   Pharms., LLC v. Hospira, Inc., --- F. Supp. 3d ---, 2014 WL 4988016, at *4-5 (C.D. Cal.

   2014) (rejecting the argument that POM Wonderful was limited to “food labels only and

   did not reach the labeling, marketing, or advertising” of other products, because “the

   arguments, logic and holding of POM Wonderful are couched in much broader language

   and strongly suggest a more wide-ranging application”) (emphasis in original); see also

   Williams, 552 F.3d at 939 (“We do not think that the FDA requires an ingredient list so

   that manufacturers can mislead consumers and then rely on the ingredient list to correct

   those misinterpretations and provide a shield for liability for the deception.”); In re Bayer

   Corp. Combination Aspirin Prods. Mktg. & Sales Practices Litig., 701 F. Supp. 2d 356,

   375-76 (E.D.N.Y. 2010) (“Even if . . . the labeling meets the floor established by federal

   regulations, there is nothing to indicate that it could not still be misleading and therefore

   actionable under state consumer protection laws.”); Ackerman, 2010 WL2925955, at *16

   (“The fact that the actual sugar content of [the product] was accurately stated in an FDA-

   mandated label on the product does not eliminate the possibility that reasonable

   consumers may be misled.”).

                  There is, in short, no precedent or principle under the Lanham Act for

   dismissing well-pled allegations of false and misleading advertisements simply because

   the fine print on the label conforms to FDA or industry requirements. Nestlé Purina does

   not get a free pass to advertise that its Beggin’ Strips dog snack is bacon when it is not

   (Compl. ¶¶ 20-25), or that its supposedly customized Just Right dog food is




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   “personalized” and “unique” when it is not (id. ¶¶ 43-48), merely by meeting technical

   “labeling conventions.”5 As the Complaint alleges in substantial detail, the issue of fact

   that remains to be tried is whether the challenged commercials, websites and packages,

   each taken as a whole, convey false product quality claims and deceive consumers.

          3.      The Ingredient List on Nestlé Purina’s
                  Packaging Is Not Grounds for Dismissal

                  In a variation on its first two arguments, Nestlé Purina argues that any

   consumer confusion or deception is eliminated by the ingredient lists on the back of its

   packaging. (Def. Mem. at 11.) This too is a factual defense that is not appropriate for a

   motion to dismiss: e.g., whether a false or misleading claim about a product’s main

   ingredient that appears on the front of package—let alone, on television or the web—is

   somehow off-set by the ingredient list on the back, is a question for trial. Indeed, courts

   in this Circuit have held that the presence of an ingredient list on the back of a product

   does not immunize a manufacturer from liability for the false and misleading statements

   on the front of the packaging or in other advertising.

                  In Ackerman v. Coca-Cola Co., for example, the court held that an

   accurate ingredient label “does not eliminate the possibility that reasonable consumers

   may be misled,” recognizing that “even reasonable consumers may not read the




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       Also unavailing is Nestlé Purina’s argument that FDA regulations permit it to refer to
       “brewers rice” as “rice” when advertising its ONE SMARTBLEND and Pro Plan
       products. (Def. Mem. at 21.) As an initial matter, the provision it cites simply says
       that a manufacturer must use “[a]n appropriately descriptive term” when identifying
       its dog and cat food products. (Borders Decl., Ex. 43-3, 21 C.F.R. § 501.3(b)(3).)
       Nowhere in that provision, or in any other FDA regulation, does it suggest—much
       less state—that a manufacturer may use a different ingredient name on the front of the
       package than it does on the back. In any event, as discussed supra, even if Nestlé
       Purina’s advertising of its ONE SMARTBLEND and Pro Plan products were

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   nutritional label prior to every purchase of a new product” and could rely on the very

   existence of a government-regulated nutritional label to vouchsafe for the accuracy of

   representations made elsewhere on a product’s packaging. 2010 WL 2925955, at *16-17.

   In Hughes v. Ester C Co., 930 F. Supp. 2d 439 (E.D.N.Y. 2013), the court held that a

   disclaimer on the back of a product does not, as a matter of law, eliminate a likelihood

   that consumers are misled by claims on the front of the product. Id. at 463-64.6

                  Ackerman and Hughes both cite and adopt the Ninth Circuit’s reasoning in

   Williams v. Gerber Products Company, 552 F.3d 934 (9th Cir. 2008). In Williams, the

   district court dismissed false advertising claims relating to fruit juice snacks on the

   ground that the products’ ingredient list would ensure that the consumers were not

   deceived. Id. at 937. On appeal, the Ninth Circuit reversed, holding that an ingredient

   list on the side of a product does not bar claims based on false or misleading statements

   on the front of the product. Id. at 939. As the court explained:



       consistent with FDA regulations, that fact, alone, does not immunize Nestlé Purina
       from well-pleaded claims of false advertising under federal and state law.
   6
       In support of its argument that “courts routinely find that when an alleged ambiguity
       on a label is clarified by the ingredient list, a label is not misleading as a matter of
       law” (Def. Mem. at 11), Nestlé Purina cites one decision in this Circuit: Stokely-Van
       Camp, Inc. v. Coca-Cola Co., 646 F. Supp. 2d 510 (S.D.N.Y. 2009). That case,
       however, involved neither an ingredient list nor a finding that a label is not
       misleading as a matter of law. Instead, that case involved a motion for a preliminary
       injunction, where the plaintiff bore the burden of establishing a likelihood of success
       on the merits. Id. at 523-24. Here, by contrast, Blue Buffalo is entitled to every
       reasonable inference in opposing Nestlé Purina’s motion to dismiss. Moreover, that
       case involved a sports drink that “clearly states” on its label that it is “Not a
       significant source of . . . calcium,” and thus the court found that any consumer who
       was concerned about calcium intake would appreciate that the drink is not a
       significant source of calcium. Id. at 531. Thus, unlike here, the critical, clarifying
       information was not buried in small print in the ingredient list on the back of the
       product.


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                     We do not think that the FDA requires an ingredient list so
                     that manufacturers can mislead consumers and then rely on
                     the ingredient list to correct those misinterpretations and
                     provide a shield for liability for the deception.

   Id.7

                     Also on point is Lam v. General Mills, Inc., 859 F. Supp. 2d 1097 (N.D.

   Cal. 2012). There, the defendant moved to dismiss on the ground that advertising its

   “Fruit Roll-Ups” and “Fruit by the Foot” as being “made with real fruit” (a) was

   objectively true, and (b) consumers would not interpret such advertising as making any

   representations regarding the identity or quantity of fruits. The motion was denied


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          Nestlé Purina cites to three Central District of California decisions—none of which
          involves a claim for false advertising under the Lanham Act or CUTPA—that
          disregard both the express holding of the Ninth Circuit in Williams and the numerous
          cases (including Lam, infra) that have followed the Ninth Circuit’s directive. (Def.
          Mem. at 11-12.) As other courts have recognized, by relying on pre-Williams case
          law, the cases upon which Nestlé Purina relies are “[p]ushing against the boundaries
          of the holding in Williams,” rather than fitting squarely within it. Gedalia v. Whole
          Foods Mkt. Servs., Inc., --- F. Supp. 3d ---, 2014 WL 5315030, at *7 (S.D. Tex.
          2014). Those decisions are also clearly distinguishable from the circumstances here.
          See Pelayo v. Nestlé USA, Inc., 989 F. Supp. 2d 973, 978 (C.D. Cal. 2013) (finding
          that use of the phrase “all natural” is not misleading because “the reasonable
          consumer is aware that Butoni Pastas are not springing fully-formed from Ravioli
          trees and Tortellini bushes”) (internal quotes omitted); Viggiano v. Hansen Natural
          Corp., 944 F. Supp. 2d 877, 892 n.38 (C.D. Cal. 2013) (finding that the use of the
          phrase “all natural flavors” was not misleading because plaintiff failed to allege the
          existence of any artificial flavors in the drink, and noting that if consumers wanted to
          know whether any artificial non-flavor ingredients were present, he or she could
          check the ingredient list); Hairston v. S. Beach Beverage Co., No. 12 Civ. 1429, 2012
          WL 1893818, at *5 (C.D. Cal. May 18, 2012) (finding, with respect to a drink that
          prominently advertised itself as being “all natural with vitamins,” that the phrase was
          reasonably read such that “all natural” was modified by the term “with vitamins” and
          thus there was no implication that “the added vitamins are suppose[d] to be ‘all
          natural vitamins’”). Moreover, the decision in Pelayo has been criticized because it
          “is at odds with basic logic, contradicts the [Federal Trade Commission] statement on
          which it relies, and appears in conflict with the holdings of many other courts,
          including the Ninth Circuit” in Williams. Jou v. Kimberly-Clark Corp., No. 13 Civ.
          3075, 2013 WL 6491158, at *8 (N.D. Cal. Dec. 10, 2013).


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   because, after seeing the products’ name and marketing as a whole, “a reasonable

   consumer might be surprised to learn that a substantial portion of each serving of the

   Fruit Snacks consists of partially hydrogenated oil and sugars.” Id. at 1104. The court

   found that consumers could not be expected “to look beyond ‘made with real fruit’ in

   order to discover the truth in small print.” Id.

                   The motion here should be denied for the same reason. When presented

   with television commercials and other advertising for Nestlé Purina’s pet foods, which

   deliberately highlight that the products are made primarily with appealing ingredients

   (e.g., bacon, salmon, filet mignon), consumers should not be expected to inspect the

   small print to discover that the main ingredients are really the carcass of a slaughtered

   chicken and other unappetizing fillers. (See, e.g., Compl. ¶¶ 20, 27, 30.)8

           4.      Defending the False Advertisements as
                   “Puffery” Is Not Grounds for Dismissal

                   Nestlé Purina argues that some of the challenged ads “constitute nothing

   more than puffery.” (Def. Mem. at 24.) This is yet another factual defense that, if it is to

   be raised at all, should be raised at trial. Nestlé Purina fails to cite any case in this Circuit

   where a motion to dismiss a false advertising claim was granted based on a puffery


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       Nestlé Purina argues that the advertising for its Fancy Feast Filet Mignon Flavor
       with Real Seafood and Shrimp product is not false and misleading because
       “[c]onsumers are widely aware of and experienced with ‘flavors’ and the use of
       ‘flavor’ as a qualifier in food labeling.” (Def. Mem. at 17.) But the only authority it
       cites for that proposition is McKinniss v. Sunny Delight Beverages Co., 07 Civ. 2304,
       2007 WL 4766525, at *4-5 (C.D. Cal. Sept. 4, 2007), the holding of which turned on
       compliance with FDA regulations and the presence of nutritional information on the
       back of the label, and thus has effectively been overruled by the Supreme Court’s
       subsequent decision in POM Wonderful and the Ninth Circuit’s subsequent decision
       in Williams v. Gerber. In any event, the decision in Sunny Delight in no way
       suggests that the addition of the word ‘flavor’—on its own—is sufficient to inform
       consumers that the product in fact contains none of the listed ingredient. Nestlé
       Purina simply does not cite any such authority.

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   defense. Motions to dismiss routinely are denied on this basis because the question of

   what constitutes puffery generally cannot be resolved without evidence of how the

   advertisement is perceived by actual consumers. See, e.g., Verizon Directories Corp. v.

   Yellow Book USA, Inc., 309 F. Supp. 2d 401, 407-08 (E.D.N.Y. 2004) (denying motion to

   dismiss false advertising claim based on puffery because a fair evaluation of what was

   being communicated and what was being understood by an advertisement must be based

   on evidence and not just on the pleadings); Nasdaq Stock Mkt., Inc., 336 F. Supp. 2d at

   305 (denying motion to dismiss false advertising claim based on puffery because puffery

   defense “necessitates a fact-specific determination of whether the advertisements at issue

   contain an implied falsehood sufficiently specific to mislead the relevant consumers.”).

                  Here, none of the Nestlé Purina advertising at issue comes close to

   satisfying the standard for puffery. None of the advertising involves “a general claim of

   superiority over comparable products that is so vague that it can be understood as nothing

   more than a mere expression of opinion.” Time Warner Cable, 497 F.3d at 160. Nor do

   they involve “an exaggerated, blustering, and boasting statement upon which no

   reasonable buyer would be justified in relying.” Id. Instead, each of the challenged

   advertisements “describe[s] the contents of a [pet] food product in ways consumers might

   reasonably rely on in choosing to purchase [it].” Ackerman, 2010 WL 2925955, at *17.

   That is not puffery. See id. It is not puffery to misrepresent specific characteristics and

   attributes of the product advertised. See Louis Altman & Malla Pollack, 1A CALLMANN

   ON   UNFAIR COMPETITION, TRADEMARKS & MONOPOLIES § 5:26 (4th ed. 2014) (“Claims

   that misrepresent specific characteristics of a product and that will affect consumers’




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   purchasing decisions are not puffing.”); Williams, 552 F.3d at 939 n.3 (factual

   misrepresentations are not puffery).

                  Moreover, Nestlé Purina effectively concedes that none of the

   advertisements viewed in their entirety constitute puffery. It argues only that certain

   isolated words or images are puffery. (Def. Mem. at 24-29.) In doing so, Nestlé Purina

   ignores the fundamental principle that a court must “consider the advertisement in its

   entirety and not . . . engage in disputatious dissection.” S.C. Johnson & Son, Inc. v.

   Clorox Co., 241 F.3d 232, 239 (2d Cir. 2001) (internal quotes omitted). That certain

   discrete elements of a false and misleading advertisement could—taken out of context—

   arguably constitute puffery does not render the advertisement immune from liability.

   See, e.g., Williams, 552 F.3d at 939 n.3.

                  For example, Nestlé Purina argues that the reference to bacon in its

   Beggin’ Strips television commercials—as seen through the eyes of “an overly excited,

   talking dog”—is “obviously hyperbolic.” (Def. Mem. at 25-26.) That argument mistakes

   entertainment for hyperbole. The consistent and repeated highlighting of bacon in the

   commercial, both in words and realistic images, culminating in a human voiceover

   declaring that Beggin’ Strips are “made with real bacon” (Compl. Ex. A), is not

   “meaningless bluster.” As we have alleged, and as we will prove at trial, it is a concrete

   and specific representation to consumers that bacon is one of the primary ingredients in

   the product, when in fact it is not. See Ackerman, 2010 WL 2925955, at *17. That is so

   even though, to some viewers, the commercial may seem “humorous.” See Verizon

   Directories, 309 F. Supp. 2d at 407 (commercials that “are merely playful and absurd”

   cannot be characterized as “mere puffery” on a motion to dismiss); Charter Commc’ns,




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   Inc. v. Sw. Bell Tel. Co., 202 F. Supp. 2d 918, 929-30 (E.D. Mo. 2001) (the mere fact that

   a television commercial is humorous does not mean that the advertisement does not

   misrepresent a statement of fact, and thus is not puffery); J. Thomas McCarthy, 5

   MCCARTHY      ON   TRADEMARKS      AND   UNFAIR COMPETITION § 27:56 (4th ed. 2014)

   (“Dramatic television presentations of the product cannot be dismissed as puffing

   fantasies if they convey some clear and false message.”).

                  Nestlé Purina also offers no explanation of how the repeated use of the

   terms “Unique Blends,” “Tailored Nutrition” and “a personalized blend to match your

   dog’s nutritional needs” in advertising for its Just Right dog food constitutes puffery.

   Those terms communicate statements of fact, not opinion.         Nestlé Purina’s puffery

   argument is limited to the phrase “the best nutrition.” (Def. Mem. at 27.) But that phrase

   cannot be taken out of context and isolated from the advertising as a whole, which

   communicates to consumers that Just Right is, as a matter of objective fact,

   “personalized” and “unique” because it offers ingredients specifically “tailored” for each

   individual dog. See Pizza Hut, Inc. v. Papa John’s Int’l, Inc., 227 F.3d 489, 501-02 (5th

   Cir. 2000) (finding that the phrase “Better Ingredients. Better Pizza.”, in the context of

   ads concerning defendant’s sauce and dough, is “no longer mere opinion, but rather takes

   on the characteristics of a statement of fact”).

                  Similarly, Nestlé Purina seeks to isolate a single element of its false and

   deceptive Beneful advertising, ignoring the full context and overall message of the ad.

   Nestlé Purina argues that the cascade of human-grade beef and chicken depicted in its

   Beneful advertising is puffery because no consumer could possibly believe that the dog

   food contains human grade meat. (Def. Mem. at 27.) But by highlighting prominent and




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   repeated images of human-grade beef and chicken in the context of products labeled

   “Original With Real Beef” and “Healthy Fiesta With Real Chicken,” Nestlé Purina

   communicates the false and misleading message that beef or chicken is one of the

   primary ingredients of Beneful.       That is a factual assertion about the product’s

   ingredients, not mere bluster or opinion. See Ackerman, 2010 WL 2925955, at *17

   (advertisement that “describe[s] the contents of a [pet] food product in ways consumers

   might reasonably rely on in choosing to purchase” it is not mere puffery).

                  Blue Buffalo alleges that the television commercial for Cat Chow

   Naturals, which prominently emphasizes—through words and images—that the product

   is made with salmon, falsely communicates to consumers that salmon is one of the main

   ingredients in the product, when in fact it is not. (Comp. ¶¶ 26-28.) In response, Nestlé

   Purina argues that the phrases “the better you eat, the better you feel” and “these days we

   both eat smarter” in the commercial are mere puffery. (See Def. Mem. at 28.) But

   whether those two isolated statements, standing alone, would constitute puffery is

   irrelevant. What matters is that in the full context of the Cat Chow Naturals commercial,

   which features a large filet of salmon and a voiceover stating as a fact that the product is

   “made with real chicken and salmon,” these words and images falsely communicate to

   consumers that salmon is one of the main ingredients of Cat Chow Naturals.

                  Finally, Nestlé Purina argues that its use of the words “gourmet” and

   “100% Complete & Balanced Nutrition” on the packaging for Fancy Feast Filet Mignon

   Flavor with Real Seafood & Shrimp is mere puffery. But whether those two isolated

   elements, on their own, would constitute puffery is irrelevant. What matters is that in the

   full context of the Fancy Feast Filet Mignon Flavor with Real Seafood & Shrimp




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   packaging, those elements, when combined with the name of the product, contribute to

   the false message that “filet mignon” and “real seafood & shrimp” are among the main

   ingredients.

   B.     BLUE BUFFALO’S CUSPA CLAIM IS ACTIONABLE

                  Blue Buffalo has brought a claim under Connecticut General Statute § 42-

   115e(a), which is a part of the Connecticut Unfair Sales Practices Act. Section 42-

   115e(a) provides:

                  A person likely to be damaged by a deceptive trade practice
                  of another may be granted an injunction enjoining such
                  practice under the principles of equity and on terms that the
                  court considers reasonable. Proof of monetary damage,
                  loss of profits, competition, actual confusion or
                  misunderstanding or intent to deceive is not required.

                  Nestlé Purina suggests, in a footnote, that much of CUSPA was repealed

   in 1973, and that “it is unclear at this point as to what conduct § 42-115e applies.” (Def.

   Mem. at 1, n.1.) In support, Nestlé Purina cites Artie’s Auto Body, Inc. v. Hartford Fire

   Ins. Co., No. X08CV030196141S, 2013 WL 3958298, at *4 (Conn. Super. Ct. May 24,

   2013) and Robert Langer, John Morgan, and David Belt, 12 CONNECTICUT PRACTICE

   SERIES, CONNECTICUT UNFAIR TRADE PRACTICES, BUSINESS TORTS,              AND   ANTI-TRUST

   §6.9 (2012-2013 ed.) (“Langer”).

                  To the extent this footnote is intended to imply that § 42-115e(a) is not a

   valid cause of action in Connecticut, Nestlé Purina has misinterpreted Connecticut law.

   Both federal and state courts continue to recognize that § 42-115e(a) allows a party to

   bring a claim for an injunction when it is likely to be damaged by a deceptive trade

   practice of another. See A & R Body Specialty v. Progressive Cas. Ins. Co., 07 Civ. 929,

   2013 WL 718622, at *5 (D. Conn. Feb. 27, 2013) (denying motion to dismiss complaint



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   bringing a claim under §42-115e); RW Grp., Inc. v. Pharmacare Mgmt. Servs., Inc., No.

   X07CV054003840S, 2006 WL 1320225, at *12 (Conn. Super. Ct. Apr. 27, 2006)

   (granting temporary injunction under §42-115e).

                  If Nestlé Purina intends to imply that its conduct does not fall under § 42-

   115e(a), this similarly misapprehends Connecticut law. The issue identified by Artie’s

   Auto Body and by Langer is how broadly to define the term “deceptive trade practices” in

   § 42-115e(a)—i.e., “whether ‘deceptive trade practice’ as used in section 42-115e should

   be given the definition provided in the now repealed section 42-115d, or whether it

   should be given the broader meaning of ‘deceptive acts or practices in the conduct of any

   trade or commerce’ which has developed under CUTPA.” Langer, 12 CONNECTICUT

   PRACTICE SERIES § 6.9.      The distinction is irrelevant here, because Nestlé Purina’s

   conduct implicates either definition.     Nestlé Purina’s deceptive advertising violates

   Section 42-115d of CUSPA by (among other things) “represent[ing] that [its products]

   have ingredients, uses, benefits or quantities that they do not have” and “represent[ing]

   that [its products are] of a particular standard, quality or grade [when] they are not.” Id.

   And Nestlé Purina’s false advertising is a deceptive act or practice under CUTPA for the

   reasons discussed supra.

                  Accordingly, Blue Buffalo has stated a valid claim for violation of the

   Connecticut Unfair Sales Practice Act.

   C.     BLUE BUFFALO’S COMMON LAW UNFAIR
          COMPETITION CLAIM IS ACTIONABLE

                  Nestlé Purina argues that Blue Buffalo’s claim alleging common law

   unfair competition should be dismissed because there is no such cause of action in

   Connecticut. (Def. Mem. at 29.) In support, it cites to Mountain West Helicopter, LLC v.



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   Kaman Aerospace Corp., 310 F. Supp. 2d 459, 461 n.1 (D. Conn. 2004). That case,

   however, merely states that “[t]he court is not aware of any Connecticut common law

   cause of action for unfair trade practices.” Id. Blue Buffalo has not brought a common

   law claim for unfair trade practices. Rather, it has brought a claim alleging unfair

   competition, a tort that is plainly recognized under Connecticut law. See, e.g., QSP, Inc.

   v. Aetna Cas. & Sur. Co., 256 Conn. 343, 371 (2001) (“In order for a plaintiff to sustain a

   cause of action for unfair competition, there must be some evidence in the record that the

   defendant misappropriated a commercial or business advantage.”). Indeed, the QSP court

   explicitly recognized the existence of such a tort in the context of advertising injuries.9

   Id. at 372. Other courts in Connecticut similarly have recognized a cause of action for

   common law unfair competition. See, e.g., Baer v. New Eng. Home Delivery Servs.,

   LLC, No. CV064021976, 2007 WL 3173701, at *4 (Conn. Super. Ct. Oct. 18, 2007)

   (recognizing “the body of law addressing common-law unfair competition”); Typehouse,

   Inc. v. Corbett, No. CV000436981S, 2001 WL 273186, at *2-3 (Conn. Super. Ct. Mar. 1,

   2001) (recognizing “the common law action of unfair competition” and declining motion

   to strike claim).

                   Nestlé Purina also claims that Mountain West Helicopter stands for the

   proposition that “[i]n circumstances where a common law cause of action is pled, the

   court assumes that the complaint seeks to allege a CUTPA cause of action regardless of

   the plaintiff’s failure to invoke the relevant statute.” (Def. Mem. at 29.) That is not the

   holding of Mountain West Helicopter. In that case, the plaintiff failed to specifically


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       Connecticut has recognized the tort of common law unfair competition in the context
       of false advertising for more than fifty years. See Goss v. Birnbaum Furniture Co.,
       21 Conn. Supp. 207, 210-11 (Conn. Super. Ct. 1959).


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   invoke CUTPA, but brought a claim for “unfair trade practice[s].” 310 F. Supp. 2d at

   461 n.1. The District Court therefore assumed that the plaintiff intended to bring a

   CUTPA claim, and analyzed the complaint accordingly. Id. Here, Blue Buffalo has

   brought a CUTPA claim, and then asserted a separate cause of action for common law

   unfair competition. Unlike the plaintiff in Mountain West Helicopter, Blue Buffalo

   clearly intended to—and did—bring separate and independent causes of action for

   CUTPA violations and common law unfair competition. Nestlé Purina is therefore

   subject to liability under both causes of action. There is no reason to treat Blue Buffalo’s

   common law unfair competition claim as a duplicative CUTPA claim.




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                                      CONCLUSION

                 For the foregoing reasons, Blue Buffalo respectfully requests that this

   Court deny Nestlé Purina’s motion to dismiss.

   Dated: February 6, 2015
          New Haven, Connecticut

                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I hereby certify that on February 6, 2015, a copy of the foregoing Plaintiff’s

   Memorandum of Law in Opposition to Defendant’s Motion to Dismiss The First

   Amended Complaint was filed electronically and will be served by mail on anyone

   unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties

   by operation of the Court’s electronic filing system or by mail to anyone unable to accept

   electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

   filing through the Court’s CM/ECF System.


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